                                      U. S. DEPARTMENT OF EDUCATION
                                         SAN FRANCISCO, CALIFORNIA

                                    CERTIFICATE OF INDEBTEDNESS #1 OF 1

                                                        Osllusia Gates
                                                        11016 Pale   Hickory Ln
                                                        Charlotte, NC 28215-8034
                                                        Account No. xxx-xx-2098

I certify that U. S. Department of Education records show that the borrower named above is
indebted to the United States in the amount stated below plus additional interest frorn06/12/18.

On or about}9/07/00 the borrower executed a promissory note to secure a Direct Consolidation loan
from the U. S. Department of Education. This loan was disbursed for $33,778.94 & $7,925.81 on
10/16/00 at8.25% interest per annum. The loan was made by the Departrnent under the William D.
Ford Federal Direct Loan Program under Title IV, Part D of the Higher Education Act of 1965, as
amended, 20 U.S.C. S 1087a et seq. (34 C.F.R. Part 685). The Department demanded payment according
to the terms of the note, and the borrower defaulted on the obligation on09/15/12. Pursuant to 34
C.F.R. S 685.202(b), a total of fi38,475.73 in unpaid interest was capitalized and added to the principal
balance.

The Department has credited a total of $10,790.32 in payments from all sources, including Treasury
Department offsets, lf any, to the balance. After application of these payments, the borrower now
owes the United States the following:

Principal:                                              $ 80,120.48
Interest:                                               $ 38,747.85
Total debt as of   06   / 12/ 18:                       $ 118,868.33

Interest accrues on the principal shown here at the rate of $18.10 per day.

Pursuant to 28 U.S.C. 51746(2),I certify under penalty of perjury that the foregoing is true and
correct.

Executed on:06/12/1.8




                                                        Loan Analyst/Litigation Support




                                                                              Government
                                                                                Exhibit
                                                                                  A




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Promissory     Note                                                                                   :                                                1   of3
                                                                                                                      sEP   1 4 2000
        .:
 Borrowsr'. Name:        OSLLUSIA GATES
 Eorrower'3 Soclal Securtty Num ber:            l]2o98
 REPAYMENT PLAN SELECIION

 Crr€fully read quesuon s5, "What are my nepayment plan opuons?,' op the 'Frequenuy Asked Questlons' Page to
 understand the repayment plans all"allable to you. Then, cDmplete thls lsedon to select your rcpayment plan.
 Remember--
 -   All student loans must be r€pald under the same repayment plan. P;rent PLUS loans may be repald under a dlfrerent
     repayment   plan.                                                                            ,

 .   If you select the In@me Conungent Repayment Plan, you must coqplete the 'Repayment Plan Selectlon' AND
     "lncome Conungent    Repayment Plan Consent to Dlsdosure of Tax lAformatlon' forms. Both torms can be downloaded
     from the oForms and Publlcauons" Page. Your s€tecllon cannot bq procGca€d wlthout thosG form3.
 -   Ifyou wantto consolldate a defaultcd student loan(e) and you hsvG not made a sausfactorY rGplymant
     arrangemert wkh your currcnt holdGr(r), you must 6el.ct thb fncomo Condng€nt Repaymcnt Plan.
 Pla€e an 'X' ln the box that corresponds to your rcpayment plan selecdon for each loan type. Note th8t Dired PLUS
 Consolldatlon Lo.ns cannot be r€pald under the Income conungent Repayment Plan.

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  sruDENrLoANs ffiiilr;|lffianduisubstdtzed                                                   ;x
  PARENT LOANS               Dlrect Plus Consolldatlon Loans:                                             N/A


 PROMISSORY NOTE                                                                              .
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 Promlta to P!y:                                                                          ;

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 loan(s) verlfla'd as th! payolT bal.ncc(s) on that loan(s) s€hcted tbr consolldluon. lrly slgnrhJrc on t lls notr wtll scrvc as my lutftorlzluon
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 consolldauon loun.                                                              r

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 I understlnd tirt thls ls E Promlssory Notr. I wlll nct slgn thls notc bcrbrc                                                    even lf I am      f+. oX-lte.
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                                                                                                                                                     ?t14oOb
 It consolldaung Jolntly wlttr my spouse, we agrce to the samc terms and condluohs contalned ln the Borrower Crruncatlon and
 Authoriza6on. tn rddlBon, we conllrm tltat we are lcallly mrrrlcd to eacfi othlr.qnd undeEtlnd snd rgrEc thlt wc Erc and wlll G)nunue to
 b€ hcld Jolndy lnd scvcrully llable lor t}te enlre rmount of tha dlbt rrpruscntEd, by thc Fcderdl Olrcct Consolldeuon Lorn wl$out negsrd to
 the amount8 of our lndlvldual loln obllglEons that arc consolldltcd and wlthout iqard to any cfilngc thlt mry occur ln our marltal EttU.rs.
 We understand $at thls merns tiat onc of us may bc r€qulrcd to p3y thE enErlrlmount duc tf the othcr ls unlblc or rcfugrs to pay. We
 understand thlt the Fcdcml Dlrrd Consolldatlon lr.n we arr lpplyhg lor wlll         ti
                                                                                    cancallcd only It bdt of u6 qurllfy for cancdlatlon. We
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 Consolldatlon Loan Program deferment or,brbeaane ellglblllty rbr both ol us at the same Eme,




 Slgnature ot Borrower



 Slgnature of Spouse(lf consolldathg Jolntly)




..-/appentry.PrintConfirmServlet?Button_Pressed_IIid=continue&PrintConfirm.

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